       Case 8-23-70736-ast             Doc 5      Filed 03/05/23    Entered 03/05/23 17:13:50




ORTIZ & ORTIZ, L.L.P.
287 Park Avenue South, Suite 728
New York, New York 10010
Tel. (718) 522-1117
Fax (718) 596-1302
email@ortizandortiz.com
Norma E. Ortiz, Esq.
Proposed Counsel for the Debtor

 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------x
 In re

 MICHAEL J. TULCHINER aka
 MICHAEL JAY TULCHINER aka
 MICHAEL TULCHINER dba
 LAW OFFICE OF MICHAEL J. TULCHINER,                                 Case No.

                                                                     Sub Chapter V Chapter 11
                                    Debtor.
 -------------------------------------------------------x

 DECLARATION OF MICHAEL J. TULCHINER REGARDING CASH FLOW STATEMENT,
    BALANCE SHEET, AND INCOME TAX RETURN PURSUANT TO 11 U.S.C. § 1116

        Michael J. Tulchiner, the above-captioned debtor in possession, hereby swears as follows:

        1. I have been informed that I am obligated to annex a copy of my most recent balance sheet,

statement of operations, cash-flow statement, and Federal income tax return to my bankruptcy petition.

Because my petition was filed on short notice, I will amend this Declaration to provide the information I

possess that is required by Section 1116.

        I hereby declare under the penalty of perjury that the foregoing is accurate and true to the best of

my knowledge and belief.

Dated: March 2, 2023
       Melville, New York                                          S/Michael J. Tulchiner
                                                                   Michael J. Tulchiner
